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                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

              v.                               Case No. 09-cr-121-01, 03-SM

Luis A. Ortiz and Wendy Aybar



                                      ORDER

      Defendant Aybar's assented-to motion to continue the trial (document no. 19)

is granted.    Defendant Aybar has filed a Waiver of Speedy Trial. Trial has been

rescheduled for the month of November 2009.

      The court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18 U.S.C.

§ 3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny

the defendants the reasonable time necessary for effective preparation taking into

account the exercise of due diligence under the circumstances.

      Final Pretrial Conference:        October 19, 2009 at 2:30 p.m.

      Jury Selection:                   November 3, 2009 at 9:30 AM
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      SO ORDERED.



July 13, 2009                      _________________________
                                    Steven J. McAuliffe
                                    Chief Judge

cc: Jonathan Saxe, Esq.
    James Gleason, Esq.
    Jennifer Davis, AUSA
    U. S. Probation
    U. S. Marshal




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